Case 7:22-cv-02198-PMH Document 46 Filed 07/25/23 Page 1of1
UNITED STATES DISTRICT COURT .
SOUTHERN DISTRICT OF NEW YORK

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22~cv-02198 (PMH)
Ralph Rodrigue, Din # 17A0928 7075 9 Pin BER Io ys
Plaintiff MOTION FOR THE APPOINTMENT
. OF OSOUNSEL AND RULE 33.2
“AGALNS T- . APPLICATION

| Edward Burnett. ,et.,al

L Ralph Rodriguez, din number 17A0928, am the plaintiff in the above mention claim,

Application denied. Plaintiff may consult the New York Legal

and affirm the following as tr
6 as Assistance Group referenced in the Court's May 31, 2023 Order

1. The address of plaintiff is|(Poc. 39). Lacon
New York 12508. The Clerk of Court is respectfully directed to: (i) terminate the
- jmotion sequence pending at Doc. 43; and (ii) mail a copy of this
2. Plaintiff was granted “IN FO'MEr to Plaintiff jtes

that the game status is txue an|SO ORDERED.

3. Plaintiff is Pro=se, and on (Guin/ hto

affect by the honorable Philip rie eee trict Judge

defendants motion to dismiss. Dated: White Plains, New York

July 25, 2023

Pp

4, Plaintiff is net a Lawyer a|

eourt and humbly request the "Appointment of Coumsel”, to represent plaintiff as to
ensure the Equal Protection of the Law and Constitution,

5. Plaintiff is unable to afford counsel, and the issues within the involved case is
complex and consist of “Excessive Force Claims", wherefore a rule 33.2 is humbly
alse being ‘requested.

6. Plaintiff has attempted to acquire counsel with no success and to date no Law -

firm has contacted plaintiff.

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WHEREFORE, plaintiff bnmbly request this Honorable Court to appoint counsel to

represent plaintiff. LE
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